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                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION

KARL ERWIN KING,                               )
                                               )
              Petitioner,                      )
                                               )
       v.                                      )         CV 120-129
                                               )         CV 120-154
RONALD BRAWNER, Warden,                        )
                                               )
              Respondent.                      )

                                         _________

                                         ORDER
                                         _________

       Petitioner, an inmate at Baldwin State Prison in Hardwick, Georgia, brings the above-

styled actions pursuant to 28 U.S.C. § 2254. See King v. Brawner, CV 120-129 (S.D. Ga.

Sept. 9, 2020); see also King v. Berry, CV 120-154 (S.D. Ga. Nov. 3, 2020). In a Report and

Recommendation (“R&R”) issued on October 19, 2020, the Court recommended dismissal

because Petitioner did not personally sign the petition or establish “next friend” standing,

resulting in a lack of jurisdiction for the Court to rule on the petition. King v. Brawner, CV

120-129 (S.D. Ga. Sept. 9, 2020).

       On November 3, 2020, Petitioner filed a new, signed § 2254 petition, alleging the

same grounds as the unsigned September 9th petition. See King v. Berry, CV 120-154 (S.D.

Ga. Nov. 3, 2020). On that same day, Petitioner submitted a motion for extension of time to

file objections explaining he has made attempts to produce a signed petition to the Court.

(See CV 120-129, doc. no. 5.) It appears Petitioner intended for the signed November 3rd

petition to be filed in CV 120-129 to cure the jurisdictional defect. Because the signed
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November 3rd petition would cure the jurisdictional defect, the Court DIRECTS the

CLERK to CLOSE CV 120-154, REFUND the $5.00 filing fee made in CV 120-154, and

DOCKET CV 120-154, doc no. 1, in CV 120-129. The Court therefore VACATES the

October 19th R&R dismissing the original unsigned petition, (CV 120-129, doc. no. 3), and

DENIES AS MOOT Petitioner’s motion for an extension to file objections to the October

19th R&R, (CV 120-129, doc. no. 5). Petitioner shall not be responsible for a second filing fee.

The Court reviews Petitioner’s signed November 3rd petition in an accompanying R&R.

       SO ORDERED this 9th day of November, 2020, at Augusta, Georgia.




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